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     John Trupiano                                                       March 14, 2025
                                                                                      ·


·1· · · · · · · · ·0UNITED STATES DISTRICT COURT
· · · · · · · · · · · · · · · FOR THE
·2· · · · · · · · · ·WESTERN DISTRICT OF TEXAS

·3· ·SOUTHWEST AIRLINES CO.,· · )
· · · · · Plaintiff,· · · · · · )
·4· · · · · · · · · · · · · · · )
· · ·v.· · · · · · · · · · · · ·) CIVIL ACTION NO.
·5· · · · · · · · · · · · · · · ) 5:24-cv-01085-XR
· · ·THE CITY OF SAN ANTONIO· · )
·6· ·TEXAS AND JESUS SAENZ, IN· )
· · ·HIS OFFICIAL CAPACITY AS· ·)
·7· ·DIRECTOR OF AIRPORTS FOR· ·)
· · ·THE CITY· · · · · · · · · ·)
·8· · · · Defendants.· · · · · ·)

·9

10· · · · · ·----------------------------------------

11· · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · · · ·JOHN TRUPIANO
12· · · · · · · · · · · · MARCH 14, 2025
· · · · · · · · · · · · · · ·Volume 1
13
· · · · · · ·----------------------------------------
14

15· · · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF JOHN

16· ·TRUPIANO, produced as a witness at the instance of

17· ·Defendant, and duly sworn, was taken in the above-styled

18· ·and numbered cause on the 14th day of March, 2025 from

19· ·11:09 a.m. to 3:48 p.m., before Nancy Newhouse, a

20· ·Certified Shorthand Reporter in and for the State of

21· ·Texas, reported by oral shorthand, located at the law

22· ·offices of Waddell, Serafino, Geary, Rechner, Jenevein,

23· ·P.C., 1717 Main Street, 25th Floor, Dallas, Texas, 75201,

24· ·pursuant to the Federal Rules of Civil Procedure and the

25· ·provisions stated on the record or attached hereto.
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·1· · · · · · · · · · ·A P P E A R A N C E S

·2

·3· ·FOR THE PLAINTIFF SOUTHWEST AIRLINES, CO.:

·4· · Mr. Lawrence Morales II
· · · LAW OFFICES OF THE MORALES LAW FIRM, P.C.
·5· · 6243 West Interstate 10, Suite 132
· · · San Antonio, Texas 78201
·6· · Telephone:· (210) 225-0811
· · · email:· lawrence@themoralesfirm.com
·7
· · · · · AND
·8
· · · Mr. Roy Goldberg, via Zoom
·9· · LAW OFFICES OF CLARK HILL
· · · 1001 Pennsylvania Avenue NW
10· · Washington, DC 20004
· · · Telephone: (202) 522-2388
11· · email: rgoldberg@clarkhill.com

12· ·FOR THE DEFENDANTS CORGAN & JOHN TRUPIANO:

13· · Ms. Amanda L. Schwartz
· · · Mr. Brandon Waddell
14· · LAW OFFICES OF WADDELL, SERAFINO, GEARY, RECHNER,
· · · JENEVEIN, P.C.
15· · 1717 Main Street, 25th Floor
· · · Dallas, Texas 75201
16· · Telephone:· (214) 979-7420
· · · Fax:· (214) 979-7402
17· · email: aschwartz@wslaw.com

18· ·FOR THE DEFENDANT CITY OF SAN ANTONIO TEXAS AND JESUS
· · ·SAENZ:
19
· · · Mr. Eric Pilsk
20· · LAW OFFICES OF KAPLAN, KIRSCH & ROCKWELL, LLP
· · · 1634 (Eye) (I) Street NW, Suite 300
21· · Washington, DC 20006
· · · Telephone:· (202) 955-5600
22· · Fax:· (202) 955-5616
· · · email:· Epilsk@kaplankirsch.com
23
· · · · · AND
24

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·2

·3· · Ms. Deborah Lynne "Debbie" Klein, via Zoom
· · · CITY OF SAN ANTONIO TEXAS
·4· · 203 South St. Mary's Street FL 2
· · · San Antonio, Texas 78205
·5· · Telephone:· (210) 207-8919

·6

·7

·8· ·ALSO PRESENT:
· · · Mr. Chris Arreola, Videographer
·9

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· · · · · Bate Stamped ANSER_0000001, 0000007, 00000059,
22· · · · 00000067, 00000071 and 00000072 (6-pgs)· · · · · 66

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· · · · · Mr. Larsen cc'd Mr. O'Connor dated 7/13/23
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·6· · · · cc'd Mr. Trupiano dated 5/15/23 reg: Possible
· · · · · Airline Placement Bate Stamped
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· · · · · reg: 09222023 ESC-Presentation-Draft.pptx
10· · · · Bate Stamped CONFIDENTIAL_CORGAN_0002748
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16· · · · Conference Room Bate Stamped ANSER_0001581 and
· · · · · 0001587 (2-pgs)· · · · · · · · · · · · · · · · ·127
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18· · · · Larsen and Mr. Trupiano dated 11/8/23 reg:
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19· · · · ACCN0031428 (3-pgs)· · · · · · · · · · · · · · ·135

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· · · · · Mr. Garnier, Mr. O'Krongley cc'd Ms. Sanchez,
12· · · · Ms. O'Krongley, Ms. Castano and Ms. Alonzo
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·3· ·28· ·Email from Mr. Brandenburg to Mr. Glaser,
· · · · · Ms. Donato, Mr. Larsen, Mr. McDonald,
·4· · · · Mr. Trupiano and Mr. O'Connor cc'd
· · · · · Mr. Sierra, Ms. Sanchez and Mr. Molloy Re:
·5· · · · COVID Bate Stamped CONFIDENTIAL_CORGAN_022402
· · · · · through 022407 (6-pgs)· · · · · · · · · · · · · 183
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·7· · · · cc'd Mr. O'Connor Re: SAT Gating Strategies
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·1· · · · · · · · · · ·P R O C E E D I N G S
·2· · · · · · · · ·(On the record at 11:00 a.m.)
·3· · · · · · · · · VIDEOGRAPHER:· We are now on the record.
·4· ·Today's date is March 14th, 2025, and the current time is
·5· ·11:00 a.m.
·6· · · · · · · · · Will counsel please identify themselves
·7· ·for the record?
·8· · · · · · · · · MR. MORALES:· Lawrence Morales on behalf
·9· ·of Southwest Airlines.
10· · · · · · · · · MR. PILSK:· Eric Pilsk for --
11· · · · · · · · · MR. GOLDBERG:· And Roy Goldberg on behalf
12· ·of Southwest Airlines as well.
13· · · · · · · · · MR. PILSK:· Eric Pilsk on behalf of
14· ·Defendants.
15· · · · · · · · · MS. SCHWARTZ:· Amanda Schwartz on behalf
16· ·of --
17· · · · · · · · · MS. KLEIN:· Debbie Klein --
18· · · · · · · · · MS. SCHWARTZ:· -- Corgan.
19· · · · · · · · · MS. KLEIN:· -- on behalf of the City of --
20· ·the -- the Defendants.
21· · · · · · · · · MR. PILSK:· Debbie, could you say that
22· ·again?
23· · · · · · · · · MS. KLEIN:· Debbie Klein on behalf of the
24· ·Defendants.
25· · · · · · · · · MS. SCHWARTZ:· Amanda Schwartz on behalf




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·1· ·of Corgan, the Witness.
·2· · · · · · · · · VIDEOGRAPHER:· And Mr. Lawrence has
·3· ·requested to swear in the witness.
·4· · · · · · · · · Will you please swear him in?
·5· · · · · · · · · MR. MORALES:· Yeah.· Just so we can put
·6· ·something on the record so it's clear later on, the court
·7· ·reporter is not here.· She is missing a cord, and we're
·8· ·about 30, 45 minutes late.· So by agreement of the
·9· ·parties, we are proceeding by videotape only and will
10· ·proceed with transcribing the transcript after the fact.
11· · · · · · · · · Is there any objection to that?· Do I have
12· ·an agreement amongst the parties here?
13· · · · · · · · · MR. PILSK:· That is our agreement, no
14· ·objections.
15· · · · · · · · · MR. MORALES:· Okay.
16· · · · · · · · · MS. SCHWARTZ:· No objections.
17· · · · · · · · · MR. PILSK:· And that was Erik Pilsk
18· ·speaking for the Defendants.
19· · · · · · · · · MR. MORALES:· Okay.· And the also by
20· ·agreement of the parties, as an officer of the Court, I
21· ·think the parties agree that I will swear in Mr.
22· ·Trupiano.· Any problems with that?
23· · · · · · · · · MR. PILSK:· This is Eric Pilsk, no
24· ·problem.
25· · · · · · · · · MS. SCHWARTZ:· Amanda, no problems.




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·1· ·--
·2· · · · Q.· ·Yeah.
·3· · · · A.· ·-- can you simplify it?
·4· · · · Q.· ·Sure.· Did Corgan make a recommendation to the
·5· ·City that Delta and American should be in Terminal C?
·6· · · · A.· ·No.
·7· · · · Q.· ·I'm handing you what's been marked as Exhibit
·8· ·29.
·9· · · · · · · · · (Plaintiff's Exhibit No. 29 was marked for
10· ·identification.)
11· · · · Q.· ·(BY MR. MORALES)· In Exhibit No. 29, are --
12· ·have you seen it before?
13· · · · A.· ·Yes.
14· · · · Q.· ·Exhibit No. 29, I'll represent to you, sir,
15· ·that in early May, the City notified Southwest that its
16· ·gating assignment included it being assigned to Terminal
17· ·A.
18· · · · · · · · · That decision was not released to the
19· ·other airlines until late May, and then I believe that
20· ·Corgan and the City had a meeting with Southwest in June
21· ·of 2024, does that sound right?
22· · · · A.· ·Yes.
23· · · · Q.· ·Okay.· Is this a presentation that Corgan put
24· ·together for that meeting with Southwest in -- in June of
25· ·2024?




                                                                                    YVer1f
